Case 5:19-cv-01855-GW-DFM Document 27 Filed 10/15/20 Page 1 of 1 Page ID #:1485




                         UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                               EASTERN DIVISION



  RONICKA ANDREA JACKSON,                   Case No. ED CV 19-01855-GW (DFM)

            Plaintiff,                      ORDER ACCEPTING REPORT
                                            AND RECOMMENDATION OF
               v.                           UNITED STATES MAGISTRATE
                                            JUDGE
  COMMISSIONER OF SOCIAL
  SECURITY,

            Defendant.



        Pursuant to 28 U.S.C. § 636, the Court has reviewed the Joint
  Stipulation, the other records on file herein, and the Report and
  Recommendation of the United States Magistrate Judge. No objections to the
  Report and Recommendation were filed, and the deadline for filing such
  objections has passed. The Court accepts the report, findings, and
  recommendations of the Magistrate Judge.
        IT IS THEREFORE ORDERED that Judgment be entered reversing the
  decision of the Commissioner denying benefits and remanding for further
  proceedings consistent with the Report and Recommendation.


  Date: October 15, 2020                     ___________________________
                                             GEORGE H. WU
                                             United States District Judge
